                    IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                              EASTERN DISTRICT
                                No. 4:23-cv-193-D

 RODNEY D. PIERCE, et al.,                    )
                                              )
                    Plaintiffs,               )
                                              )        NOTICE OF WITHDRAWAL
        v.                                    )      OF GOVERNMENTAL COUNSEL
                                              )     FOR STATE BOARD DEFENDANTS
 THE NORTH CAROLINA STATE                     )
 BOARD OF ELECTIONS, et al.,                  )
                                              )              Local Civil Rule 5.2(d)
                    Defendants.               )

       NOW COMES State Board Defendants and provides notice pursuant to Local Civil Rule

5.2(d) that Special Deputy Attorney General Mary Carla Babb is leaving the North Carolina

Department of Justice and will no longer be associated with this case and gives notice of her

withdrawal as counsel in this matter.

       This withdrawal will not result in any prejudice, as the undersigned, Special Deputy

Attorney General Terence Steed will continue to represent State Board Defendants, its members,

and its Executive Director and verifies that he is aware of, and will comply with, all pending

deadlines in the case including proceedings with any scheduled trial or hearings.

       This the 24th day of February, 2025.

                                                     NORTH CAROLINA
                                                     DEPARTMENT OF JUSTICE

                                                     /s/ Terence Steed
                                                     Terence Steed
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      Case 4:23-cv-00193-D-RN           Document 114        Filed 02/24/25     Page 1 of 1
